                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:13 CR 15


UNITED STATES OF AMERICA,                     )
                                              )
      Plaintiff                               )
                                              )
      V                                       )              ORDER
                                              )
WALTER CALE SANCIL,                           )
                                              )
      Defendant.                              )


      THIS MATTER is before the court on Jack W. Stewart’s Application for

Admission to Practice Pro Hac Vice of Douglas W. McDonald, Jr. It appearing

that Douglas W. McDonald, Jr. is a member in good standing with the Georgia

State Bar and will be appearing with Jack W. Stewart, a member in good standing

with the Bar of this court, that all admission fees have been paid, and that the email

address of the attorney seeking admission has been provided, the court enters the

following Order.

                                      ORDER

      IT IS, THEREFORE, ORDERED that Jack W. Stewart’s Application for

Admission to Practice Pro Hac Vice (#30) of Douglas W. McDonald, Jr. is




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GRANTED, and that Douglas W. McDonald, Jr. is ADMITTED to practice, pro

hac vice, before the Bar of this court while associated with Jack W. Stewart.



                                              Signed: July 2, 2013




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